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                                                                                      SCHEDULE A

                                               DEFINITIONS

          1.           “AMP” or “Average Manufacturer Price” shall have the meaning set forth in 42

U.S.C. § 1396r-8(k)(1).

          2.           “CMS” means the United States Centers for Medicare and Medicaid Services; all

of its predecessors (including the Health Care Financing Administration or HCFA); constituent

parts (including the Department of Health and Human Services); present and former directors,

officers, employees, agents, attorneys, and accountants; and any other person who currently or

formerly acted or purported to act on their behalf.

          3.           “Defendants” refers to Actavis MidAtlantic LLC, Alpharma USPD Inc. f/k/a

Barre National Inc., and Barre Parent Corp.; Par Pharmaceutical, Inc. and Par Pharmaceutical

Companies, Inc.; Sandoz Inc. f/k/a Geneva Pharmaceuticals Inc.; and Watson Pharmaceuticals,

Inc. and Schein Pharmaceutical, Inc. (n/k/a Watson Pharma, Inc.).

          4.           “Generic Drugs” shall mean drugs to which pharmaceutically and therapeutically

equivalent drugs containing the same active ingredient exist.

          5.           “Including” means including without limitation.

          6.           “MAC” or “Maximum Allowable Cost” shall have the meaning set forth in 42

C.F.R. § 50.504 or any analogous state statute or regulation.

          7.           “Medicaid” means the Medicaid Program, as administered by the various states.

          8.           “Program” means any program under which Medicaid pays reimbursement for

pharmaceuticals and includes all State Medicaid Programs and any insurance program that

provides pharmaceutical benefits to State and/or federal employees.




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          9.           “Regarding,” “relating to,” or “referring to” means constituting, containing,

concerning, referring to, embodying, reflecting, analyzing, evidencing, discussing, identifying,

illustrating, stating, supporting, refuting, responding to, commenting on, evaluating, about,

mentioning, dealing with, or in any way pertaining to the relevant subject matter or person(s).

          10.          “State Medicaid Programs” means the State agencies responsible for carrying out

the Medicaid Program in the fifty States and the District of Columbia; all their branches,

agencies, committees, or departments; all their current and former administrators, staff,

employees, agents, consultants, accountants, or attorneys; and any other person who currently or

formerly acted or purported to act on their behalf.

                                            AREAS OF INQUIRY

          1.           The drug pricing information (including without limitation AMPs) provided by

Defendants in connection with their pharmaceutical products under Medicaid, including without

limitation any analysis, evaluation, review of, or reliance on any representations regarding drug

pricing provided the Defendants.

          2.           CMS’s and the federal government’s policies and decisions to encourage the

dispensing of Generic Drugs under Medicaid.

          3.           CMS’s consideration, approval, or disapproval of Section 4.19(b) of all proposed

or actual amendments to state Medicaid plans submitted under 42 U.S.C. § 1396(a), including

without limitation proposed or actual amendments that include State Maximum Allowable Cost

programs, proposed or actual amendments that include differential EAC calculations between

branded or single-source products and generic or multi-source products, and the following state

plan amendments:




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          a.           Arkansas: State Plan Amendment #89-24 (changing from AWP to AWP -

                       10.5%); State Plan Amendment #01-038 (changing to AWP - 14% for brand

                       drugs and AWP - 25% for generic drugs); and State Plan Amendment #02-008

                       (changing to AWP - 20% for generic drugs). Persons with relevant knowledge of

                       these State Plan Amendments may include Jerry D. Sconce, James R. Merryman,

                       James L. Reed, and Calvin G. Cline.

          b.           California: State Plan Amendment #03-012 (changing from AWP - 5% to AWP -

                       10%). Persons with relevant knowledge of this State Plan Amendment may

                       include Linda Minamoto and Dennis G. Smith.

          c.           Idaho: State Plan Amendment #99-001 (changing from AWP to AWP - 11%);

                       and State Plan Amendment #01-012 (changing to AWP - 12%). Persons with

                       relevant knowledge of these State Plan Amendments may include Robert Reed,

                       Debbie Chang, Nicole Tapay, Sue Gaston, Teresa Trimble, Maria Garza, and

                       Kimberly Howell.

          d.           Illinois: State Plan Amendment #00-15 (changing to a lower-of formula based on

                       AWP and WAC); and State Plan Amendment #03-09 (changing to AWP - 12%

                       for brand drugs and AWP - 25% for generic drugs). Persons with relevant

                       knowledge of these State Plan Amendments may include Vera Drivalas and

                       Cheryl A. Harris.

          e.           Kentucky: State Plan Amendment #02-04 (changing from AWP - 10% to AWP -

                       12%). Persons with relevant knowledge of this State Plan Amendment may

                       include Eugene Grasser and Rhonda R. Cottrell.




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          f.           Louisiana: State Plan Amendment #01-08 (changing from AWP - 15% to AWP -

                       13.5% for independent pharmacies and AWP - 16.5% to AWP - 15% for chain

                       pharmacies). Persons with relevant knowledge of this State Plan Amendment

                       may include Joe Reeder, Larry Reed, Kim Howell, and Andrew Fredrickson.

          g.           Minnesota: State Plan Amendment #03-001 (changing from AWP - 9% to AWP -

                       14%); and State Plan Amendment #03-029 (changing to AWP - 11.25%).

                       Persons with relevant knowledge of these State Plan Amendments may include

                       Deirdre Duzor, Doris Ross, and Cheryl Harris.

          h.           Oregon: State Plan Amendment #01-02 (changing from AWP - 11% to AWP -

                       13%); State Plan Amendment #02-004 (changing to AWP - 14%); State Plan

                       Amendment #02-016 (changing to AWP - 11% for institutional pharmacies); and

                       State Plan Amendment #02-017 (changing to AWP - 15%). Persons with relevant

                       knowledge of these State Plan Amendments may include Maria Garza, Teresa

                       Trimble, Bunnee Butterfield, Larry Reed, and Karen S. O’Connor.

          i.           South Carolina: State Plan Amendment #00-009 (changing from AWP - 13% to

                       AWP - 10%). Persons with relevant knowledge of this State Plan Amendment

                       may include Jessie Spillers, Larry Reed, Eugene Grasser, and Cheryl Austein

                       Casnoff.

          j.           Washington: State Plan Amendment #02-022 (changing from AWP - 11% to

                       AWP - 14%). Persons with relevant knowledge of this State Plan Amendment

                       may include Deirdre Duzor and Karen S. O’Connor.

          k.           Wisconsin: State Plan Amendment #01-009 (changing from AWP - 10% to AWP

                       - 11.25%); and State Plan Amendment #03-010 (changing to AWP - 12% in


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                       August 2003 and AWP - 13% in July 2004). Persons with relevant knowledge of

                       these State Plan Amendments may include Cheryl A. Harris and Pamela Carson.




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